              Case 5:22-cv-00117-J Document 7 Filed 03/25/22 Page 1 of 3




                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

 1. ALLSTATE FIRE AND CASUALTY
    INSURANCE COMPANY,
       Plaintiff,
                                                            Case No. CIV-22-117-J
 v.

 1. TRENTON HATTLER, and
 2. BETSY SMITH,
       Defendants.


                     DEFENDANT TRENTON HATTLER’S ANSWER

       Defendant Trenton Hattler respectfully submits the following Answer to Plaintiff’s

Complaint for Declaratory Judgment.

        1.    Admitted.

        2.     Admitted.

        3.     Admitted.

        4.     Admitted.

        5.     Admitted.

        6.     Admitted.

        7.     Admitted.

        8.     Admitted.

        9.     Admitted.

        10.    Admitted.

        11.    Admitted.

        12.    Admitted.


                                                1
              Case 5:22-cv-00117-J Document 7 Filed 03/25/22 Page 2 of 3



        13.    No response is required to paragraphs 13 as it contains no factual allegation.

        14.    Admitted.

        15.    Admitted.

        16.    Admitted.

        17.    Admitted.

        18.    Admitted.

        19.    Admitted.

        20.    Admitted.

        21.    Admitted.

        22.    Denied.

        23.    Denied.

        24.    Admitted.

        25.    No response is required to paragraph 25 as it contains no factual allegation.

        26.    No response is required to paragraph 26 as it contains no factual allegation.

        Wherefore, Defendant Trenton Hattler asks that Allstate take nothing by its complaint and

for all relief to which Mr. Hattler is entitled to by law.




                                                   2
            Case 5:22-cv-00117-J Document 7 Filed 03/25/22 Page 3 of 3



                                          Respectfully submitted,

                                          /s/Curtis “Muskrat” Bruehl
                                          Curtis “Muskrat” Bruehl
                                          FULMER SILL, PLLC
                                          1101 N. Broadway Ave., Suite 102
                                          Oklahoma City, OK 73103
                                          Phone:       (405) 509-6300
                                          Facsimile: (800) 978-1345
                                          Email: cbruehl@fulmersill.com

                                          ATTORNEY FOR DEFENDANT
                                          TRENTON HATTLER

 ATTORNEY’S LIEN CLAIM


                              CERTIFICATE OF SERVICE

       I hereby certify that on this 25th day of March, 2022, I electronically transmitted the
attached document to the Clerk of Court using the ECF System for filing. Based on the
records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to
those registered participants of the ECF System.


                                          /s/Curtis “Muskrat” Bruehl




                                              3
